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 6
 7                          UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   CASE NO.: 20CR214-GPC
11                        Plaintiff,             Hon. Gonzalo P. Curiel
                                                 Courtroom 2D
12         v.                                    Date: June 28, 2021
                                                 Time: 8:30 a.m.
13   VICTORIA TERESA TABBUTT,
                                                 Defendant’s Sentencing Memorandum
14                        Defendant.
15
16                                      INTRODUCTION
17         Victoria Tabbutt’s drug addiction has twisted and tormented her life for nearly
18   twenty years. It has repeatedly derailed her efforts to harness her considerable talents
19   and drive, has taken her away from her family, kept her from achieving her personal
20   and professional goals. And it has brought her to where she is now, behind bars and
21   before this Court.
22         But Ms. Tabbutt refuses to be defined by her disease. She has hopes and dreams.
23   She has parents who love her, an extended network of friends and family who support
24   her. And more than anything she has a young son who needs her to be the mother he
25   deserves. Ms. Tabbutt knows that in order to be the person she wants to be she must
26   first tackle her addictions head-on. She recognizes that the path to sobriety is a long
27   one, will likely involve a lifetime of struggle, and that there will be many obstacles
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 1   along the way. But she is committed to staying on that path, for herself, and for her
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                                 Ms. Tabbutt and her son, aged 12.
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18   son.
19                                  SENTENCING REQUEST
20          Ms. Tabbutt asks this Court to sentence her to time-served as of June 29 1, and
21   to order that she be released in San Diego. 2 Defense counsel, or another representative
22   from Federal Defenders, will meet Ms. Tabbutt upon her release from the Marshals’
23   cell block and insure that she is taken directly to the Crossroads Foundation residential
24   recovery program for women, where she has a confirmed space awaiting her.
25   Following her completion of the residential portion of the program, which lasts
26
27   1
       Ms. Tabbutt will have served 13 months and 24 days as of June 29.
28   2
       Ms. Tabbutt is currently housed in San Luis, Arizona.
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 1   between three and six months, Ms. Tabbutt will continue to receive aftercare services
 2   from Crossroads, as well as assistance in finding an appropriate sober living facility.
 3                               REASONS FOR THE REQUEST
 4          A.     The woman before the court
 5                 1.    Background
 6          Ms. Tabbutt is a 33-year-old United States citizen and has lived almost her entire
 7   life in San Diego. At the time of her arrest she was living at home with her parents and
 8   her 12-year-old son.
 9                 2.    Education
10          Ms. Tabbutt attended Point Loma High School through the 11th grade before
11   transferring to Audeo Charter School in
12   North Park, where she graduated in 2005.
13   Ms. Tabbutt then studied graphic design for
14   two years at the Art Institute in Mission
15   Hills, before changing tacks and obtaining
16   her cosmetology license from the California
17   Hair Design Academy in La Mesa.
18          In 2019, Ms. Tabbutt completed a
19   one-year certified medical assistant program
20   with U.S. Colleges in Mission Valley. Ms.
21   Tabbutt had completed all coursework and
22   clinical hours, and was simply awaiting the
23   opportunity    to   take   her   certification
24   examination in order to become fully
25   licensed.                                        Ms. Tabbutt on her first day of school to
                                                      become a certified medical assistant.
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 1                3.     Work history
 2         Ms. Tabbutt was hoping to begin work as a medical assistant around the time
 3   of her arrest in this case. She had mostly been unemployed for several years prior to
 4   that, working occasionally as a delivery driver for Postmates and cleaning houses when
 5   needed. Her longest duration with one employer was with Hobby People, a retail
 6   hobby store, where she worked in sales and as a cashier for about four years.
 7                4.     Family support and obligations
 8         Ms. Tabbutt has the unwavering support of her family behind her. Many of
 9   them have written letters on her behalf, describing the woman who they love and
10   admire despite her struggles.
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                            Ms. Tabbutt’s father, brother, son, and mother.
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23         Arthur Tabbutt, continues to stand by and believe in his daughter,
24   notwithstanding her long history of drug use, including while she was on pretrial
25   release in this case. He describes her kindness, “always reaching out to share and help
26   others no matter who they are” and her love of art, music and fashion. See Arthur
27   Tabbutt Letter, attached as Exhibit A. He describes the way in which her “drug curse”
28   has disrupted Ms. Tabbutt’s dreams. And, most poignantly, he comments about how

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 1   watching his grandson “hugging his grandmother, reflecting on his mother with a far
 2   away stare” puts tears at his heart. See id.
 3          Ms. Tabbutt’s mother, Sandra, describes her as “a very kind, considerate person
 4   with a big heart” who “loves her family dearly, especially her little boy.” Sandra
 5   Tabbutt Letter, attached as Exhibit B. Mrs. Tabbutt also notes that Ms. Tabbutt is an
 6   artist who “has a flair for fashion.” Id. She yearns for her daughter, and firmly believes
 7   she is “ready to come back to society, where she needs to make a difference in the
 8   world,” most importantly as a role model for her son. Id.
 9          Steven Tabbutt, Ms. Tabbutt’s brother, has witnessed how this case has affected
10   her and believes that “she has taken responsibility for her actions and [that] she’s ready
11   to be [a] valuable member [of] society.” Steven Tabbutt Letter, attached as Exhibit C.
12   He describes how he idolized her as a child and “always wished I had her confidence
13   and her drive.” Id. Steven notes how drugs have taken so much from Ms. Tabbutt and
14   expresses his confidence that but for her addiction she would never have become
15   involved in this offense. Finally, he expresses his belief that “with professional help
16   and family and friends supporting her” Ms. Tabbutt can return to being “the strong
17   and powerful” woman he knows her to be. Id.
18          Ms. Tabbutt’s aunt and uncle, Jack and Pauline Tabbutt, describe her as “a kind
19   and caring young woman who loves her family as much as we love her.” Jack and
20   Pauline Tabbutt Letter, attached as Exhibit D. They see her as a “very intelligent”
21   woman whose “caring nature” makes her well suited for the health care career she was
22   pursuing at the time of her arrest in this case. They eagerly await her admission into a
23   treatment program so that she can reclaim her life and fulfill the promise she has
24   demonstrated even through the fog of her addiction.
25          Martha Mendez, Ms. Tabbutt’s maternal aunt, also writes in support of her, as
26   does her cousin, Michael. See Exhibits E, F.
27          Ms. Tabbutt recognizes that she is fortunate to have so much love and support
28   from her family, despite the pain she has caused them through her involvement in this
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 1   case and her long years struggling with addiction. She is committed to being the
 2   daughter, sister, and mother that her loved ones deserve. With them standing beside
 3   her, encouraging and inspiring her, Ms. Tabbutt is confident that she can address her
 4   substance abuse issues and live up to her family’s view of her as a kind, caring,
 5   intelligent, and creative woman with so much to offer the world.
 6                 5.      Substance abuse history
 7          It all comes back to her addiction. Ms. Tabbutt was introduced to drugs while
 8   she was a teenager. In the years since then, drugs have taken a grip of Ms. Tabbutt’s
 9   life and never let go. Ms. Tabbutt will be 34 in September. She is tired of the wear and
10   tear, physical and emotional, that drugs have exacted on her. And she is ready to devote
11   herself to grappling with her addiction and doing whatever it takes to reclaim her
12   sobriety. It won’t be easy. But Ms. Tabbutt knows that she needs to do everything she
13   can to battle against her addiction, which has already taken so much from her.
14   Including, very nearly, her life itself.
15          Ms. Tabbutt’s drug use began at a very early age. She was 12 years old when she
16   began smoking marijuana, and has used it on almost every day ever since. At the age
17   of 14 she was introduced to cocaine and heroin. Both of those drugs became fixtures
18   in Ms. Tabbutt’s life, with heroin in particular a nearly daily presence. And this has not
19   been simply recreational use: at the time of her arrest in this case, Ms. Tabbutt was
20   using roughly three grams of heroin per day. When she was 17 years old, Ms. Tabbutt
21   began using methamphetamine as well, and was using that drug one to two times per
22   week at the time of her arrest. Finally, Ms. Tabbutt also abused the prescription drug
23   benzodiazepine (commonly known by the brand name Xanax) which, while generally
24   safe, can be dangerously toxic when taken in conjunction with opioids like heroin.
25          When she was arrested on December 8, 2019, Ms. Tabbutt was rejected from
26   the MCC because of her addiction issues. She was taken to Paradise Valley Hospital
27   so that she could detox from the benzodiazepine, and also be treated for cellulitis and
28   abscesses in her legs related to her intravenous drug use. Ms. Tabbutt remained in the
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 1   hospital for 16 days before making her initial court appearance on December 24.
 2            After spending roughly four months in jail, Ms. Tabbutt was released on bond
 3   on April 28, 2020. Just over a week later, a former boyfriend of Ms. Tabbutt’s visited
 4   her at her parent’s home and provided Ms. Tabbutt with a substance that she believed
 5   to be methamphetamine, which she used. Unbeknownst to Ms. Tabbutt, the drug was
 6   laced with fentanyl. And it very nearly killed her.
 7            Ms. Tabbutt’s parents found her sometime later, unresponsive, and called 911.
 8   CPR was performed on Ms. Tabbutt and she was rushed to the emergency room. Ms.
 9   Tabbutt had experienced acute respiratory failure and atrial fibrillation as a result of
10   the overdose. Ms. Tabbutt was administered Narcan to combat the effects of the
11   fentanyl, and it likely saved her life. Fortunately, Ms. Tabbutt quickly stabilized and
12   made a complete and swift recovery. She was discharged from the hospital two days
13   later.
14            Soon after her discharge from the hospital, Ms. Tabbutt enrolled at Turning
15   Point, a residential drug treatment program. She successfully completed the 90-day
16   program without incident, and transitioned to a sober living facility. Unfortunately,
17   Ms. Tabbutt relapsed again. After she admitted to using alcohol and cocaine following
18   a dispute with one of her housemates, Ms. Tabbutt was remanded back into federal
19   custody.
20            B.    The need for rehabilitation
21            Ms. Tabbutt knows that the road to sobriety is a long one, a road that will not
22   be smooth or easy to traverse. But she also knows that she cannot be the woman and
23   mother that she wants to be while still in the grip of her addiction. And so she is
24   committed to devoting herself to treatment and doing everything in her power to
25   tackle her substance abuse problems head-on.
26            Additional time in custody is not going to help Ms. Tabbutt to be a productive
27   member of society. What she needs at this point is intensive drug treatment and then,
28   with assistance and support from her community and trained professionals, she needs
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 1   to gradually transition to living in the free world. Ms. Tabbutt needs to learn how to
 2   cope with the stresses and struggles of daily life without resorting to drug use. Only
 3   then will she be able to realize her potential and fulfill her obligations to her family and
 4   society.
 5          C.     The nature and circumstances of the offense
 6          Ms. Tabbutt trusted the wrong people. A couple of days before her arrest, Ms.
 7   Tabbutt went to Mexico with people who she thought were her friends. They were
 8   also among her regular sources of drugs. But while Ms. Tabbutt was aware that these
 9   people were involved in illegal activity, she never imagined they would thrust her into
10   the middle of their drug trafficking efforts. So when they asked Ms. Tabbutt to drive
11   their vehicle from Mexico back into the United States, and told her that they would
12   meet her on this side of the border, Ms. Tabbutt agreed. It didn’t dawn on her that she
13   was being used. But, then again, Ms. Tabbutt was already under the influence, and she
14   wasn’t thinking clearly when she agreed to do what was asked of her.
15          The only drugs that Ms. Tabbutt knew about that day were the Xanax pills that
16   she had concealed on her body. When she was asked if she was bringing anything back
17   from Mexico, Ms. Tabbutt answered in the negative, knowingly giving a false statement
18   to the Customs and Border Protection officer who questioned her. And that is the
19   offense she has admitted to committing, has pleaded guilty to, and is now being
20   sentenced for.
21          In light of the offense of conviction, the requested sentence is appropriate and
22   does not result in unwarranted sentencing disparities.
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 1                                         CONCLUSION
 2          Ms. Tabbutt has made mistakes in her life, and in the context of this case. She
 3   should never have trusted her drug dealers. She should never have lied to the federal
 4   agents entrusted with protecting the border. She should never have called up her ex-
 5   boyfriend when she was on pretrial release. She should never have used
 6   methamphetamine or cocaine in violation of this Court’s order. She should have done
 7   any of a number of things differently, and she deeply regrets those decisions.
 8          But underlying those decisions is a long-term drug addiction that has plagued
 9   Ms. Tabbutt for nearly twenty years. As her family can attest, Ms. Tabbutt is an
10   intelligent, kind, loving, and talented woman with a great deal of potential. Despite her
11   shortcomings and failures, she has a large group of people who still believe in her and
12   will stand by her as she tackles the biggest challenge of her life: the challenge of beating
13   her addiction.
14          Ms. Tabbutt is not naïve. She knows that after years of substance abuse it will
15   not be as simple as flipping a switch. It will take months, years, a lifetime of hard work.
16   But she is prepared to put in that work. Because it is the only way she can be the
17   mother and daughter, sister and friend that she desperately wants to be. Ms. Tabbutt
18   asks the Court to give her the chance to begin that process anew. She asks for a time-
19   served sentence, and that she be allowed to enter inpatient drug treatment immediately.
20   She asks this Court to put its faith in her one more time. And she will do her utmost
21   to show that faith is well placed.
22                                            Respectfully submitted,
23
24    Dated: June 24, 2021                    s/ Paul A. Barr
                                              Federal Defenders of San Diego, Inc.
25                                            Attorneys for Victoria Theresa Tabbutt
26                                            Email: Paul_Barr@fd.org
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